Case 2:04-cv-02733-.]PI\/|-STA Document 10 Filed 05/04/05 Page 10f2 Page|

  

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IN THE UNITED sTATEs DISTRICT coURT f §
FoR THE WESTERN DISTRICT 0F TENNESSEE 95 ble "+ Pd 2= 58

 

WESTERN DIVISION
DARYL HISSONG, )
Plaintiff, §
vs. § No. 04-2733 Ml/An
CCL LABEL, INC., §
Defendant. §

 

ORDER SETTING SCHEDULING CONFERENCE

 

A Scheduiing Conference in this matter Was set for Decernber 15, 2004, but the parties
notified the Court they Were in the process of settling this case. Therefore, the Court continued
the Scheduling Conference. The parties have not notified the Court, in writing, if they have
resolved this matter, so it is Ordered that a Scheduling Conference is hereby Set for
WEDNESDAY, MAY 25, 2005 at 10:30 A.M. in Roorn 934, 9th Floor, United States
Courthouse and Federal Building, 167 North Main, Memphis, Tennessee.

The parties should submit a proposed Schedu}ing Order to the Court by Wednesday, May
18, 2005.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

M/FH 041 Zcoi/

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 10 in
case 2:04-CV-02733 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

